                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
v.                                                   )       Criminal No. 3:14-00104
                                                     )       Judge Trauger
                                                     )
JOHN WESLEY CANTRELL, III, et al,                    )

                                            ORDER

       It is hereby ORDERED that, pursuant to the Guide to Judiciary Policy, Vol. 7, Chapter

2, §230.23.40(b), the court has determined that this case is extended and complex because of the

nature of the prosecution, type and age of charges, scope of discovery, and other factors. It is

therefore ORDERED that interim vouchers may be submitted by appointed counsel, and

payment without “hold back” unless required by law. This case will be budgeted as a mega-case

with the assistance of the Sixth Circuit Budgeting Attorney, Bob Ranz, and the new cost-

containment initiative regarding CJA service providers will apply.

       It is so ORDERED.

       ENTER this 12th day of March 2015.




                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                             U.S. District Judge




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